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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,
                                                    Criminal No. 07-189(7) (JRT/JSM)
                            Plaintiff,

v.

DELVECCIO LAVELL SMITH,                                        ORDER

                            Defendant.


       W. Anders Folk, Assistant United States Attorney, OFFICE OF THE
       UNITED STATES ATTORNEY, 300 South Fourth Street, Suite 600,
       Minneapolis, MN 55415, for plaintiff.

       Jeffrey DeGree, DEGREE LAW OFFICE, 212 Third Avenue North,
       Suite 545, Minneapolis, MN 55401, for defendant.


       This matter is before the Court on defendant’s request for a furlough to attend his

grandmother’s memorial. The Court has reviewed the request, conferred with Probation

and the United States Attorney, and finds that the defendant shall not be allowed to be

released on a furlough at this time.

       Based upon all the files, records, and proceedings herein, IT IS HEREBY

ORDERED that defendant’s request for a furlough [Docket No. 971] is DENIED.



DATED: December 23, 2009
at Minneapolis, Minnesota.                    ______ s/ John R. Tunheim _______
                                                      JOHN R. TUNHEIM
                                                  United States District Judge
